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                                          UNITED STATES DISTRICT COURT
     14                                  EASTERN DISTRICT OF CALIFORNIA
                                              SACRAMENTO DIVISION
     15

     16    UNITED STATES OF AMERICA, ex rel.                    Case No.: 2:15-CV-00799-KJM-DB
           DENIKA TERRY, ROY HUSKEY III, and
     17    TAMERA LIVINGSTON, and each of them for              CLASS ACTION
           themselves individually, and for all other persons
     18    similarly situated and on behalf of the UNITED       STIPULATION REGARDING
           STATES OF AMERICA                                    AMENDMENTS TO THE SCHEDULING
     19                                                         ORDER
                  Plaintiffs/Relators,
     20                                                         Before: Hon. Kimberly Mueller
           vs.
     21                                                         Trial Date:   None Set
           WASATCH ADVANTAGE GROUP, LLC,
     22    WASATCH PROPERTY MANAGEMENT, INC.,
           WASATCH POOL HOLDINGS, LLC,
     23    CHESAPEAKE COMMONS HOLDINGS, LLC,
           LOGAN PARK APARTMENTS, LLC, LOGAN
     24    PARK APARTMENTS, LP, and DOES 1-30,

     25           Defendants.

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       1          Plaintiffs and Relators Denika Terry, Roy Huskey III, and Tamera Livingston and Defendants

       2   Wasatch Advantage Group, LLC, Wasatch Property Management, Inc., Wasatch Pool Holdings, LLC,

       3   Chesapeake Commons Holdings, LLC, Logan Park Apartments, LLC, and Logan Park Apartments, LP

       4   (together, “the Parties”), by and through their undersigned counsel, hereby stipulate as follows:

       5          WHEREAS, the Court issued the most recent pretrial scheduling order in this case on

       6   December 21, 2018 (ECF 103);

       7          WHEREAS, under Federal Rule of Civil Procedure 16(b)(4), the Court has broad discretion to

       8   modify a pretrial scheduling order on a showing of “good cause,” focusing on the diligence of the

       9   parties and the reasons for the requested modification, Johnson v. Mammoth Recreations, Inc., 975

     10    F.2d 604, 609 (9th Cir. 1992); C.F. ex rel. Farnan v. Capistrano Unified Sch. Dist., 654 F.3d 975, 984

     11    (9th Cir. 2011);

     12           WHEREAS, Plaintiffs sought amendments to the pretrial scheduling order by motion filed on

     13    June 14, 2019 (ECF 107 at 15-19), and Defendants indicated that they agreed to Plaintiffs’ proposed

     14    amendments (ECF 107-1, Ex. 13; ECF 108 at 2);

     15           WHEREAS, for the reasons set out in Plaintiffs’ motion, Plaintiffs have shown good cause for

     16    relief from the scheduling order under Federal Rule of Civil Procedure 16(b)(4) (see ECF 107 at 15-19

     17    (describing Plaintiffs’ diligence, delays to the litigation resulting from the Parties’ dispute about the

     18    class list, the addition of new counsel, and the Parties’ exploration of mediation));

     19           WHEREAS, the amended deadlines proposed by Plaintiffs in their June 14th motion were

     20    calculated to address the delays to the litigation resulting from the Parties’ months-long dispute

     21    regarding the class list, which has unavoidably and significantly delayed both notice to the class and

     22    merits discovery efforts (ECF 107 at 17, 18-19);

     23           WHEREAS, the remainder of Plaintiffs’ June 14th motion addressed issues relating to the class

     24    list and class notice, seeking clarification or amendment of the class period for the Reimbursement

     25    Class, an order requiring Defendants to compile and produce the class list no later than July 26, 2019,

     26    and approval of Plaintiffs’ proposed class notice (ECF 107 at 9-15);

     27           WHEREAS, on July 2, 2019, the Court vacated the July 12, 2019 hearing on Plaintiffs’ motion

     28    and reset the hearing for August 23, 2019 (ECF 109);

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       1          WHEREAS, the new hearing date will further push back the class notice, which depends on the

       2   Court resolving the present dispute between the Parties regarding the scope and membership of the

       3   Reimbursement Class certified pursuant to Federal Rule of Civil Procedure Rule 23 and Defendants

       4   thereafter producing a class list in compliance with the Court’s order;

       5          WHEREAS, the Parties agree that the pretrial scheduling order should be amended to account

       6   for these unavoidable delays;

       7          WHEREAS, the Parties seek an order from the Court relieving them of the current fact

       8   discovery cut-off of September 20, 2019, as that deadline “cannot be reasonably met” despite the

       9   Parties’ diligence, for the reasons set out in Plaintiffs’ motion (see Fed. R. Civ. P. 16, advisory

     10    committee’s notes (1983 amendment) (quoted in Johnson, 975 F.2d at 609));

     11           WHEREAS, the Parties agree that the following modifications to the Court’s scheduling order

     12    entered on December 21, 2018 (ECF 103) would be appropriate:

     13                  Fact discovery shall be completed by 38 weeks following the entry of the Court’s order
     14                   regarding Plaintiffs’ Motion Seeking (1) Clarification, or in the Alternative,

     15                   Amendment of the Class Definition; (2) Compilation of the Class List; and (3)

     16                   Approval of Proposed Class Notice;

     17                  Expert witness disclosures shall be made no later than 4 weeks following the close of
     18                   fact discovery;

     19                  Rebuttal expert witness disclosures shall be made no later than 7 weeks following the
     20                   close of fact discovery;

     21                  All expert discovery shall be completed no later than 12 weeks following the close of
     22                   fact discovery;

     23                  All dispositive motions, except motions for continuances, temporary restraining orders
     24                   or other emergency applications, shall be filed no later than 16 weeks following the

     25                   close of fact discovery.

     26           THEREFORE, the Parties jointly stipulate and request that the Court so order.

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       1   Dated:                                          Respectfully submitted,

       2                                                   GOLDSTEIN, BORGEN, DARDARIAN & HO

       3
                                                           /s/ Anne P. Bellows
       4                                                   Anne P. Bellows
       5                                                   Attorneys for Plaintiff and Relators
       6   Dated:                                          Respectfully submitted,
       7                                                   LEWIS BRISBOIS BISGAARD & SMITH LLP
       8
                                                           /s/ Ryan Matthews (as authorized on July 9, 2019)
       9                                                   Ryan Matthews
     10                                                    Attorneys for Defendants
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     13          IT IS SO ORDERED.
     14    DATED: July 10, 2019.
     15
                                                               UNITED STATES DISTRICT JUDGE
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